6/13/24 10:55AM

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF OHIO

In re: Case No.

Melt Bar and Grilled, Inc. Chapter 11

Debtor(s) Judge

DECLARATION RE: ELECTRONIC
FILING OF DOCUMENTS AND
STATEMENT OF SOCIAL SECURITY
NUMBER

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Part I - Declaration of Petitioner

I[We]_ Matthew K. Fish and , the undersigned debtor(s), Aereby declare under penalty of perjury that
the information I have given my attorney and the information provided in the electronically filed petition, statements, and schedules,
as well as in any other documents that must contain original signatures, is true, correct, and complete. I consent to my attorney
sending my petition, this declaration, statements, and schedules, and any other documents that must contain original signatures, to the
United States Bankruptcy Court. The DECLARATION RE: ELECTRONIC FILING shall be filed the same day the petition is filed.

[ am aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11 of the United States Code, understand the relief available
under each chapter, and choose to proceed under the chapter specified in the petition,

| [We] further declare under penalty of perjury that [check appropriate box(es)):

Oo The Social Security Number that I, have given to my attorney, which will be submitted to the Court as part of the electronic
case opening process, is true, correct, and complete.

I, the Debtor, do not have a Social Security Number.

Oo The Social Security Number that I, the Joint Debtor, have given to my attorney, which will be submitted to the Court as part
of the electronic case opening process, is true, correct, and complete.

oO I, the Joint Debtor, do not have a Social Security Number.

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[Check box if petitioner is a corporation or partnership] | declare under penalty of perjury that the information provided in
the petition is true, correct, and complete, and that | have been authorized to file the petition on behalf of the debtor. The
debtor requests relief in accordance with the chapter specified in the petition.

Dated: June 13, 2024 Signed: l
Matthew K. Fish/President

Part II - Declaration of Attorney

I declare under penalty of perjury that | have reviewed the above debtor's petition and that the information is complete and
correct to the best of my knowledge. The debtor(s) will have signed this form before | submit the petition, schedules, and statements,
or any other documents that must contain original signatures. I will give the debtor(s) a copy of all forms and information to be filed
with the United States Bankruptcy Court, and have followed all other requirements of Local Bankruptcy Rule 5005-4 and the
Electronic Case Filing (ECF) Administrative Procedures Manual. I further declare that | have examined the above debtor's petition,
schedules, and statements, and any other documents that must contain original signatures, and to the best of my knowledge and belief,
they are true, correct, and complete. If an individual, | further declare that I have informed the petitioner that [he or she] may proceed
under chapter 7, 11, 12, or 13 of Title 11, United States Code, and have-explained the relief available under each such chapter. This
declaration is based on all information of which | have knowledge. | indersih that failure to file the signed original of this
DECLARATION will cause this case to be dismissed. a

Dated: June 13, 2024

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Frederi P. Schwieg, Esq. 0030418
Attorney for Debtor(s)

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